Case 2:03-CV-02250-BBD Document 57 Filed 06/20/05 Page 1 of 2 P:age|D 68
UNITED STATES DISTRICT COURT

 

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SI'IELB'Y COUNT‘Y I'IE.ALTI'I CARE CORP.
d/b/R REGIONAL MEDICAL CENTER

 

DECISION BY COU'RT. 'I'his action came to consideration before the
Court. 'I‘he issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AN'D A.DJUDGED that in accordance with the Order 1)
Denying Defendants' Joint Motion To Dismiss/For Summary Judgment
Regard:|.nq Plaintiff's mende Compla:i.nt; 2) Denying Defendants'
Joint Motion For Sumary Judgme:nt Regarding Defendants' Joint
mended Counterclaim; 3) Granting Plaintiff's Crose Motion For
Smmuary' J‘u.dg'ment With Reg'arc'l To Pla:l.ntiff's mended Complaint.; A.nd
4) Grant:l.ng Plaintiff’s Cross Motion For Su.tmnary Judgment: With
Regard To Defendants' Jo:l.nt mended Counterclaim entered on May 19,
2005, this cause is hereby dismissed.

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Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:03-CV-02250 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

